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                         UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

In re:                                          §            CASE NO. 14-32821-11
                                                §
SEARS METHODIST RETIREMENT                      §                 CHAPTER 11
SYSTEMS, INC., et al.                           §
                                                §         JOINTLY ADMINISTERED
                 DEBTORS.                       §

                LIQUIDATING TRUSTEE’S MOTION FOR APPROVAL OF
              PREVAILING BID OF TEXAS METHODIST FOUNDATION FOR
              ABILENE PROPERTY PURSUANT TO AGREED UNDEVELOPED
               PROPERTIES SALE PROCEDURES AND ENTRY OF ORDER
                    CONFIRMING SALE OF ABILENE PROPERTY

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE STACEY G. C.
JERNIGAN:

         Harold Kessler, the Liquidating Trustee (the “Liquidating Trustee”) for the Liquidating

Trust established pursuant to this Court’s Findings of Fact, Conclusions of Law, and Order

Confirming Debtors’ Second Amended Joint Plan of Reorganization Pursuant to Chapter 11 of

the Bankruptcy Code [Docket No. 800] (the “Confirmation Order”), files this Motion for

Approval of Prevailing Bid of Texas Methodist Foundation for Abilene Property Pursuant to

Agreed Undeveloped Properties Sale Procedures (the “Motion”). In support of the Motion, the

Liquidating Trustee respectfully represents that:

                                JURISDICTION AND VENUE

         1.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (O). Venue is proper

in this district pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicates for the relief

sought herein are §§ 105 and 363 of title 11 of the United States Code, 11 U.S.C. §§ 101 – 1532

(as amended, the “Bankruptcy Code”).
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                                             BACKGROUND

       2.      On March 19, 2015, Texas Methodist Foundation (“TMF”) and Wells Fargo

Bank, N.A., as Trustee (the “Obligated Group Bond Trustee”) jointly filed the Notice of Agreed

Undeveloped Properties Sale Procedures [Docket No. 819] (the “Sale Procedures”).1

       3.      Pursuant to the Sale Procedures, the Abilene Property was marketed by Senter

Realtors. Two Qualified Bids were received prior to the Bid Deadline—one from RSF Partners

(“RSF”) and the other by TMF.

       4.      On July 31, 2015, an auction for the Abilene Property was held at the Dallas, TX

office of Diamond McCarthy LLP by the Liquidating Trustee (the “Auction Proceeding”). A

transcript of the Auction Proceeding (the “Auction Transcript”) is attached hereto as Exhibit A.

During the Auction Proceeding, competitive bids were received from both TMF and RSF. At the

request of RSF, TMF and the Obligated Bond Trustee both consented to the reduction of the

minimum bid increment from $25,000 to $10,000 for the Abilene Property.                            Further, the

Liquidating Trustee maintained a bid sheet reflecting each bid received from both TMF and RSF

during the Auction Proceeding (the “Bid Sheet”). The Bid Sheet is attached hereto as Exhibit B.

       5.      The Prevailing Bid at the Auction Proceeding was a credit bid made by TMF in

the total amount of $760,000.00.

       6.      Pursuant to the Sale Procedures, the Liquidating Trustee shall present the

Prevailing Bid for the Abilene Property to the Bankruptcy Court as the successful bid no later

than five (5) business days after the Auction Proceeding in order to obtain an order approving

such sale.




1
       All capitalized terms not defined herein shall have the same meaning assigned to them in the Sale
       Procedures.

                                                       2
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                                      RELIEF REQUESTED

        7.     The Liquidating Trustee requests entry of and order substantially in the form of

the attached proposed order.

                                       BASIS FOR RELIEF

        8.     Section 363(b)(1) of the Bankruptcy Code provides, in relevant part, that a debtor,

“after notice and hearing, may use, sell or lease, other than in the ordinary course of business,

property of the estate.” 11 U.S.C. § 363(b).

        9.     Further, pursuant to § 363(f) of the Bankruptcy Code, a trustee may sell property

free and clear of any lien, claim, or interest in such property if, among other things: (i) applicable

non-bankruptcy law permits sale of such property free and clear of such interest; (ii) such entity

consents; (iii) such interest is a lien and the price at which the property is sold is greater than all

liens on such property; (iv) such interest is in bona fide dispute; or (v) such entity could be

compelled, in a legal or equitable proceeding, to accept money satisfaction of such interest.

11 U.S.C. § 363(f). Because § 363(f) of the Bankruptcy Code is drafted in the disjunctive,

satisfaction of any one of its five requirements is sufficient to permit a sale to be free and clear of

all liens, claims, encumbrances, and interests. Here, a “free and clear” sale is warranted because

one or more of the standards set forth in §§ 363(f)(l)-(5) of the Bankruptcy Code will be

satisfied.

        10.    Section 363(m) of the Bankruptcy Code provides that:

               The reversal or modification on appeal of an authorization under
               subsection (b) or (c) of this section of a sale or lease of property does not
               affect the validity of a sale or lease under such authorization to an entity
               that purchased or leased such property in good faith, whether or not such
               entity knew of the pendency of the appeal, unless such authorization and
               such sale or lease were stayed pending appeal.

11 U.S.C. § 363(m).


                                                  3
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        11.     The Sale Procedures allowed for sufficient time for the marketing of the Abilene

Property and for the submission of Qualified Bids. The Auction Proceeding elicited competitive

bids that culminated in the Prevailing Bid submitted by TMF. There was no collusion in the

submission of bids at the Auction Proceeding.

        12.     Accordingly, the Liquidating Trustee requests that the Court determine TMF to be

acting in good faith and entitled to the protections of a good faith purchaser under § 363(m) of

the Bankruptcy Code.

                                        CONCLUSION

        WHEREFORE, the Liquidating Trustee respectfully requests that the Court enter an

order, substantially in the form of the proposed order attached hereto, and grant such other and

further relief as is just and proper.

Dated: August 7, 2015.

                                                    Respectfully submitted,

                                                    /s/ Harold J. Kessler (w/p)__________
                                                    Harold J. Kessler
                                                    BLACKBRIAR ADVISORS LLC
                                                    9506 Hill View Dr.
                                                    Dallas, TX 75231
                                                    Telephone: (214) 599-8600
                                                    Facsimile: (214) 755-6292
                                                    hkessler@blackbriaradvisors.com

                                                    LIQUIDATING TRUSTEE




                                                4
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APPROVED AS TO FORM AND SUBSTANCE:

/s/ Charles M. Rubio____________________           /s/ Charles W. Azano (w/p)_______________
Kyung S. Lee                                       Daniel S. Bleck
TBA No. 12128400                                   dbleck@mintz.com
klee@diamondmccarthy.com                           Charles W. Azano
Charles M. Rubio                                   cwazano@mintz.com
TBA No. 24083768                                   MINTZ, LEVIN, COHN, FERRIS AND
crubio@diamondmccarthy.com                         POPEO, P.C.
DIAMOND MCCARTHY LLP                               One Financial Center
909 Fannin, Suite 1500                             Boston, Massachusetts 02111
Houston, TX 77010                                  Telephone: (617) 348-1843
Telephone: (713) 333-5147                          Facsimile: (617) 542-2241
Facsimile: (713) 333-5195

COUNSEL FOR TEXAS METHODIST                        LEAD COUNSEL FOR WELLS FARGO
FOUNDATION                                         BANK, NATIONAL ASSOCIATION



                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on August 7, 2015, a true and correct copy of this
Motion was served electronically on those parties registered to receive electronic notice via the
Court’s CM/ECF system and served on the parties listed below by first class mail, postage
prepaid, within one business day of this filing.

       RSF Partners
       3899 Maple Avenue, Suite 250
       Dallas, Texas 75219

       Senter Realtors
       Attn: Tom Niblo, CCIM
       4301 Curry Ln
       Abilene, TX 79606


                                                            /s/ Charles M. Rubio
                                                            Charles M. Rubio




                                               5
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                                 EXHIBIT A
                                 Auction Transcript
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           ********************************************************

                                    PROPERTY AUCTION

                        IN RE:    CASE NUMBER 14-32821-SGJ-11

                              DATE TAKEN:      July 31, 2015



           ********************************************************




           LOCATION:

                 Diamond McCarthy, LLP
                 Tower at Cityplace
                 2711 N. Haskell Avenue
                 Suite 3100
                 Dallas, TX 75204




           REPORTED BY:

                 Judy Gamm, Texas CSR


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                                                                             Page 2
      1                       A P P E A R A N C E S
      2     LIQUIDATING TRUSTEE:
      3          MR. HAROLD J. KESSLER, CIRA
                 BlackBriar Advisors, LLC
      4          901 Main Street
                 Suite 600
      5          Dallas, Texas 75202
                 Phone: (214) 483-1261
      6          Fax:    (214) 483-1271
                 hkessler@blackbriaradvisors.com
      7
      8     FOR RSF PARTNERS:
      9          MR. GREGORY G. HESSE
                 Hunton & Williams, LLP
     10          1445 Ross Avenue
                 Suite 3700
     11          Dallas, Texas 75202
                 Phone: (214) 979-3000
     12          Fax:    (214) 740-7131
                 ghesse@hunton.com
     13
     14           MR. SEBASTIAN BROWN
                  MR. JAY ADAMOWITZ
     15           RSF Partners
                  3899 Maple Avenue
     16           Suite 250
                  Dallas, Texas 75219
     17           Phone: (214) 740-7643
                  Fax:    (214) 855-9407
     18           sbrown@rsfpartners.com
                  jadamowitz@rsfpartners.com
     19
     20           MR. BRIAN E. DOWD
                  ESLP Management, LLC
     21           P.O. Box 2107
                  Brentwood, Tennessee 37024
     22           Office: (201) 447-7006
                  Cell:    (917) 838-5885
     23           bdowd@evergreenslp.com
     24
     25

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                                                                             Page 3
      1     FOR TEXAS METHODIST FOUNDATION:
      2           MR. ALEXANDER R. PEREZ
                  Diamond McCarthy, LLP
      3           Two Houston Center
                  909 Fannin Street, 15th Floor
      4           Houston, Texas 77010
                  Phone: (713) 333-5147
      5           Fax: (713) 333-5199
                  aperez@diamondmccarthy.com
      6
      7           MR. THOMAS STANTON
                  MR. ROBERT HOPPE
      8           Texas Methodist Foundation
                  11709 Boulder Lane
      9           Suite 100
                  Austin, Texas 78726-1808
     10           Phone: (512) 789-8470
                  Main:   (800) 933-5502
     11           tstanton@tmf-fdn.org
                  rhoppe@tmf-fdn.org
     12
     13     FOR WELLS FARGO, N.A.:
     14           MR. CHARLES W. AZANO (via telephone)
                  Mintz, Levin, Cohn, Ferris, Glovsky & Popeo, PC
     15           One Financial Center
                  Boston, Massachusetts 02111
     16           Phone: (617) 542-6000
                  Fax:    (617) 542-2241
     17           cwazano@mintz.com
     18
     19
     20
     21
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       6

       7                                     EXHIBITS

       8                                      (None)

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       1                          P R O C E E D I N G S

       2                     MR. KESSLER:      I would like to get on the

       3    record.    It is 10:06.     We're going to need a few minutes

       4    to get some basic information on today's proceedings

       5    into the court record, and then the parties of interest

       6    will be allowed some time to bolster the record as they

       7    see fit.

       8                     We are gathered this morning pursuant to an

       9    order by the Honorable Stacey Jernigan, approving the

      10    bid procedures for the sale of certain undeveloped land

      11    in Abilene, Texas, owned by Sears Methodist Centers,

      12    Inc., Sears Methodist Retirement, Inc., jointly

      13    administered with Sears Caprock Retirement Corporation,

      14    Sears Methodist Centers, Inc., Sears Methodist

      15    Foundation, Sears Panhandle Retirement Corporation,

      16    Sears Permian Retirement Corporation, Sears Plains

      17    Retirement Corporation, Sears Tyler Methodist Retirement

      18    Corporation, and Senior Dimensions, Inc., operating as

      19    debtor in possession under Chapter 11 of the U.S.

      20    Bankruptcy Code.      The case number is 14-32821-SGJ-11.

      21                     This auction is being conducted under

      22    Section 363 of the Code, and our activities today will

      23    be formally presented to Judge Jernigan at a final Sears

      24    sales hearing to be scheduled on or about August 7th.

      25    Judge Jernigan is the ultimate authority of whatever we


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       1    do here today.
       2                      My name is Harold Kessler, liquidating
       3    trustee of SMRS Liquidating Trust, and I am a managing
       4    director of BlackBriar Advisors, LLC.
       5                      Please take notice that Texas Methodist
       6    Foundation, further known as TMF, and Wells Fargo Bank,
       7    N.A., as trustee, further known as the obligated group
       8    bond trustee, have agreed to the agreed undeveloped
       9    property sale procedures.
      10                      Attending today is Mr. Alex R. Perez of
      11    Diamond McCarthy representing TMF; Charles Azano via
      12    phone of Mintz, Levin, Cohn, Ferris, Glovsky & Popeo,
      13    representing the obligated group bond trustee.
      14                      And I will ask Mr. Perez and Mr. Azano to
      15    introduce themselves and their teams.
      16                      MR. PEREZ:       Good morning, everyone.           My
      17    name is Alex Perez.        I'm with the law firm Diamond
      18    McCarthy in the Houston office.              I represent Texas
      19    Methodist Foundation.            And along with me here today are
      20    Tom Stanton and Robert Hoppe as well.
      21                      MR. KESSLER:        Chip?
      22                      MR. AZANO:       Good morning.       My name is
      23    Charles Azano with the law firm of Mintz Levin.                   We
      24    represent Wells Fargo, the bond trustee for the
      25    obligated group.


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       1                     MR. KESSLER:      Thank you.      On March 19th,

       2    2015, TMF and the obligated group bond trustee filed

       3    agreed procedures that govern the sales process for the

       4    undeveloped properties under Section 363 of the

       5    Bankruptcy Code, the agreed undeveloped properties sales

       6    procedures Docket Number 819.

       7                     On July 15th, a qualified bid was received

       8    from RSF Partners in the amount of $500,000 along with

       9    an earnest money deposit of $100,000.            On July 17th, a

      10    letter was received from TMF, a qualified bidder

      11    pursuant to Section 13 of the sale procedures, providing

      12    notice that TMF has submitted a credit bid for the

      13    Abilene property in the amount of $525,000.

      14                     And now we ask TMF to designate a spokesman

      15    for the auction.

      16                     MR. STANTON:      I'm Tom Stanton, and I will

      17    be the spokesperson.

      18                     MR. KESSLER:      As stated above and

      19    consistent with the bidding procedures, on July 15th, a

      20    bid was submitted by RSF Partners.            After review by the

      21    liquidating trustee, Diamond McCarthy, LLP, and the

      22    obligated group bond trustee, it was determined that

      23    RSF Partners' bid was a qualified bid under the bid

      24    procedures.

      25                     RSF Partners is being represented by


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       1    Gregory Hesse of Hunton & Williams, LLP.             And I will ask

       2    Mr. Hesse to introduce the RSF Partners team.

       3                     MR. HESSE:       Yes.     We have -- well,

       4    actually, I'll have them introduce themselves here.

       5                     MR. BROWN:       Sebastian Brown with

       6    RSF Partners.

       7                     MR. ADAMOWITZ:          Jay Adamowitz, RSF

       8    Partners.

       9                     MR. DOWD:       Brian Dowd, Evergreen Senior

      10    Living.

      11                     MR. KESSLER:       Thank you.     I will ask the

      12    RSF Partners group to designate an official spokesperson

      13    for the auction.

      14                     MR. HESSE:       Sebastian Brown will be that

      15    person.

      16                     MR. KESSLER:       Thank you.     The auction shall

      17    proceed by permitting the qualified bidders to make

      18    successive bids, each of which must be at least $25,000

      19    higher than the previous bid.             The auction shall

      20    continue until there is only one offer that is the

      21    highest offer from among the bids submitted by qualified

      22    bidders at the auction.

      23                     I will give each group some time between

      24    bids, if you need it.        We'll go off the record so you

      25    can talk to your constituents and come back, if you need


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       1    that time.

       2                     I'm not going to impose a time limit, but I

       3    would kind of appreciate, if there is a hiccup in this

       4    thing, you'll let us know.

       5                     I would also like to put on the record that

       6    following the bid procedures, the liquidating trustee is

       7    holding the deposit for RSF Partners.            Also, the

       8    liquidating trustee has created a template spreadsheet

       9    to provide transparency of each bid, which will -- and

      10    will record each bid.

      11                     While it is ultimately the liquidating

      12    trustee's document right now, this is a work in process,

      13    and we designate and enter into the record our

      14    disclaimer that these are put together for purposes of

      15    this auction to evaluate and record the auction

      16    proposals.     Participants are reminded that this matter

      17    is subject to Federal Bankruptcy Court review and

      18    approval.

      19                     At this time I invite the parties of

      20    interest, if they so desire, to address the record with

      21    anything that you may need to put on the record.

      22                     MR. PEREZ:      This is Alex Perez on behalf of

      23    TMF.   I don't believe that we have any additional items

      24    to add to the record at this moment.

      25                     MR. HESSE:      This is Greg Hesse on behalf of


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       1    RSF.   One clarification that we would ask from the --

       2    with regard to the bid procedures:            While there will be

       3    an order that will be entered authorizing the sale free

       4    and clear of liens, claims, and encumbrances, I just

       5    wanted clarification and representation from both TMF

       6    and the obligated group that, if need be, that they will

       7    file a release of lien on the -- of their lien interest

       8    on the property.

       9                     MR. PEREZ:      I think that we're -- that's

      10    acceptable.

      11                     MR. HESSE:      Okay.

      12                     MR. KESSLER:      Chip?

      13                     MR. AZANO:      Yes.    My reception wasn't great

      14    on that.    What I believe I heard was that we would be

      15    willing to release our lien -- cooperate to release our

      16    lien with the winning bidder.

      17                     MR. HESSE:      That's correct.

      18                     MR. AZANO:      No objection, obviously.

      19                     MR. HESSE:      Thank you.

      20                     MR. KESSLER:      Okay.    Anybody else?

      21                     MR. HESSE:      I don't believe we have -- do

      22    we have anything further?         No, we have nothing further.

      23                     MR. KESSLER:      Okay.

      24                     MR. STANTON:      Just a quick clarification.

      25    I can speak for TMF, and my question would be to


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       1    counsel.     In the event that we have an effective bid

       2    from Sears today, am I right that there is no subsequent

       3    board approval that's going to be required?              You-all

       4    have authority to make that bid?

       5                     MR. BROWN:      Correct.

       6                     MR. HESSE:      That's correct.

       7                     MR. STANTON:      Thanks.

       8                     MR. KESSLER:      Lastly, just if you can

       9    identify yourself before speaking for your official

      10    designee.     We're a small group, and we'll be as

      11    accommodating as we can, but the reporter probably -- it

      12    would helpful to her if she knows who is speaking at the

      13    time.

      14                     If that is all we have, nobody has any

      15    questions?     I think right now we have a bid on the table

      16    of 525,000 from Texas Methodist Foundation, TMF.

      17                     MR. BROWN:      RSF would obviously like to

      18    increase the bid to 550.         We have done quite a bit of

      19    research on what we feel market value is --

      20                     MR. KESSLER:      Excuse me.      Sebastian Brown

      21    is speaking.

      22                     MR. BROWN:      -- on the market value of the

      23    land.   The net usable acreage there, we kind of feel to

      24    be 8 acres.     We are very open to kind of talking about

      25    the methodology of how we got to that.


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       1                     You know, for us, owning the adjacent

       2    property, there's a certain amount of kind of protection

       3    value that we want to make sure we -- you know, that

       4    there is an adjacent use that's not unfavorably

       5    developed next to us.        Obviously, there's a limit to how

       6    much we would want to do on that front.             And, obviously,

       7    we still have quite a bit of work to do on our existing

       8    asset today.     And, you know, our scope and mindset of

       9    the usable acreage and what to do in that market does

      10    have some of its constraints.

      11                     Brian, I don't know if you want to add

      12    anything else to that.

      13                     MR. DOWD:       I would agree that, I mean,

      14    given the power lines that run down the property,

      15    there's -- you know, there is some sort of limit as to

      16    how far over we can go with some of our cottages and,

      17    you know, for the development potential.             So as

      18    Sebastian said, it has a little bit of an impact on, you

      19    know, where we can go in terms of our valuation of the

      20    property.    But it would be great to have that as a

      21    protection, take us all the way to the road, and allow

      22    us to, you know, build more cottages and maybe some

      23    additional product there.

      24                     But as you know, the shape of the land

      25    is -- there's only some -- you know, there's -- the


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       1    front part is more usable than the back, so. . .

       2                     MR. STANTON:      And Tom Stanton for TMF.          We

       3    are grateful for your interest and your approach to it.

       4    And TMF is not interested or in the business of holding

       5    property, and so we certainly have taken a business

       6    approach to this, and we're certainly here very

       7    interested.

       8                     We are -- but we have some strong views

       9    about the value and marketability of the property, so

      10    we'll respond to the bid with 600,000.             I would indicate

      11    that -- that we do believe, with all due respect, we're

      12    a way away at 600 from -- I believe quite a distance

      13    from what we think we would need to get from this

      14    property.

      15                     MR. BROWN:      To be up front here, we also --

      16    this is Sebastian Brown again with RSF Partners.                We're

      17    not going to be participating in, obviously, the Waco

      18    auction.    It's not something that we have interest in.

      19    We understand that you're spreading out your credit bid

      20    between those two designee sites.

      21                     For us, you know, again, just to reiterate,

      22    we only have interest in the Abilene site.              We are very

      23    open to discussing how we came to that methodology of

      24    valuation and appreciate your guys's also kind of

      25    openness as well in what you frankly think value is.


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       1                     I think, you know, as we progress and do

       2    this -- and we do have our limits that we're going to

       3    reach here quickly.       We will continue to be of interest.

       4    We hope you just be mindful of, there's kind of a

       5    secondary phase of transaction costs, right?                 So if you

       6    guys do take it through your credit bid and you pay out

       7    all the necessary third parties and then, you know, we

       8    stand there kind of at where we were before, we think

       9    we're the only interested party and the top interested

      10    party, that it's never been official to anybody to have

      11    kind of secondary transaction costs occur for where we

      12    would have otherwise been today.

      13                     MR. STANTON:       I appreciate that, and I

      14    think that's well said.          So our bid is 600.      But I would

      15    like to ask Mr. Kessler if we could have a break in a

      16    few minutes for me to visit with Robert about their

      17    invitation to speak more specifically about how they

      18    came to the property value.

      19                     MR. KESSLER:       That's fine.     We're off the

      20    record for a few minutes.

      21                     (Break taken from 10:19 a.m. to 10:25 a.m.)

      22                     MR. KESSLER:       All right.     It is 10:25, and

      23    we're back on the record.          I believe we have, what, an

      24    offer of 600,000 from TMF.

      25                     MR. BROWN:       So RSF Partners will go up to


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       1    625,000.    And I'm going to give a little bit more

       2    methodology of how we came to, again, value the site.

       3                     We actually used the broker that was

       4    involved and engaged on this transit listing and asked

       5    him to send over all the comps that he had in the last

       6    three or four years.       And they basically ranged for

       7    multifamily acreage, 25 acres, and the last high was

       8    about a buck 35, and the low was about a buck.

       9                     And so we -- I mean, our methodology of net

      10    usable acreage of 8 acres, we applied that $1.35, which

      11    is excluding the time value of money component of how

      12    long we would have to hold it and everything else, if

      13    there was to be an alternative use, and derived at a

      14    rough valuation of $470,000 initially.

      15                     We're the first to admit, you know, our

      16    methodology for net usable acreage is -- you know,

      17    could fall to 10 acres as well, right?             I mean, it's

      18    kind of all in how a good architect designs things

      19    versus 8 acres versus 10 acres, and kind of brought us

      20    to an upper limit valuation of somewhere close to

      21    $600,000.

      22                     I'm not going to sit here today and tell

      23    you that I'm, you know, an exact scientist.              I'm a

      24    former MAI appraiser, and so I do things kind of in a

      25    very methodical manner whenever I look at things and try


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       1    to be as scientific as possible.           But the reality is,

       2    right, there's -- you stick your thumb out a little bit

       3    at the end of the day and -- to try to figure it out.

       4                     So we are willing to go up to $625,000,

       5    and, you know, at that point in time we'll recess.

       6                     MR. DOWD:       And I would just -- this is

       7    Brian Dowd.     I would just add, you know, in evaluating

       8    this number, it's -- you know, it's a very -- it's a

       9    quick close.     There's no entitlement risk.           We're not

      10    looking to rezone it.        We're not going to be -- you

      11    know, the reps and warrants are minimal, at best.                There

      12    is no financing contingency.

      13                     You know, as Sebastian said earlier, you're

      14    not re-marketing it.       You're not going to -- you know, I

      15    would guess that most people who look at this might try

      16    to rezone it or change -- do something and ask you for

      17    your patience while they do that.           And this is a very

      18    quick close and, again, no reps.           The reps and warrants

      19    are almost nonexistent.          So I think we stated that in

      20    our term sheet as well, but I just wanted to reiterate

      21    that --

      22                     MR. STANTON:       Thank you.

      23                     MR. DOWD:       -- you know, in looking at this

      24    versus a normal transaction, which may have a longer

      25    time frame and other contingencies to it.             So. . .


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       1                     MR. STANTON:      Thanks.

       2                     MR. KESSLER:      Okay.     We currently have a

       3    bid of 625.     Back to you.

       4                     MR. STANTON:      And Tom Stanton for TMF.          We

       5    respond at 650.

       6                     MR. BROWN:      Sebastian Brown with RSF.

       7    We're going to have to recess.           And, actually, I would

       8    like to ask:     Is there the ability to bid in smaller

       9    increments than the 25 court-ordered?            I may make a

      10    motion for that.      Greg?

      11                     MR. HESSE:      I believe the bid procedures --

      12                     MR. KESSLER:      These procedures are clear at

      13    the 25.

      14                     MR. HESSE:      Well, the bid procedures also

      15    provide that at the consent of the two secured lenders,

      16    TMF and the obligated group, that the bid procedures can

      17    be changed without further order of the court.

      18                     MR. STANTON:      Tom Stanton.      I respect,

      19    really, the -- the really thoughtful work that you're

      20    doing.    We wouldn't object to that.

      21                     MR. KESSLER:      Chip?     Charles?     Hey, Chip?

      22                     MR. AZANO:      Yes.

      23                     MR. KESSLER:      Did you hear that request?

      24                     MR. AZANO:      No.    I'm sorry.      Could you

      25    repeat that?


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       1                     MR. KESSLER:      Yes.    The RSF Partners has

       2    requested that instead of going with the 25,000-dollar

       3    increment of bid raise that we go with something

       4    smaller.    TMF had no objections to that.

       5                     MR. AZANO:      That's fine.      I have no

       6    objection to that.

       7                     MR. KESSLER:      Okay.    Thank you.

       8                     Do you have a suggestion of what you want

       9    that to be?     I don't want to get too small here.

      10                     MR. BROWN:      If we could go down to 10,000.

      11                     MR. KESSLER:      Is 10,000 okay with everyone?

      12                     MR. STANTON:      Yes.    No objection.

      13                     MR. KESSLER:      Chip, is 10 okay with you?

      14                     MR. AZANO:      10,000 is acceptable.

      15                     MR. KESSLER:      Okay.

      16                     MR. BROWN:      If we can get a five-minute

      17    recess as well.

      18                     MR. KESSLER:      You can.     We are off the

      19    record at 10:30.

      20                     (Break taken from 10:30 a.m. to 10:47 a.m.)

      21                     MR. KESSLER:      It is 10:47, and I guess

      22    we're back on the record.

      23                     MR. BROWN:      Before we respond, can we

      24    inquire, if you would be so inclined to advise us, kind

      25    of what your plans or intentions would be if you guys


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       1    ultimately take possession of the land?

       2                     MR. STANTON:      Well, that's a good question.

       3    I don't think that -- I don't think we can be too

       4    specific other than to tell you that we don't have right

       5    now anybody else that we are talking with and that we

       6    are certainly open to -- because of our commitment and

       7    responsibility we owe to the board and to the work of

       8    the foundation, to get what we think is a good, fair

       9    price for this property and because of having a large

      10    indebtedness in another property where we tend to be

      11    risk-adverse with respect to this asset, and we

      12    certainly would be willing to talk with you.

      13                     I appreciate your comment, sir, about that

      14    there is an elegance and simplicity about this.                I think

      15    that we may be going another route, depending on where

      16    you-all take this discussion now.           But that also has

      17    some opportunities and some openness for some more

      18    flexibility with respect to terms and financing and ways

      19    of getting everything done.

      20                     So our interest is in working to get this

      21    property marketed after this process is over, if we have

      22    deed to it, and do it in a fairly good businesslike

      23    environment.

      24                     I did want to share with you, if you were

      25    wondering, we are not necessarily feeling that we have a


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       1    fire-sale need to liquidate this asset in the coming

       2    days, weeks, or months.          We certainly can take a

       3    premeasured approach to the market, if you were

       4    wondering about that.

       5                     And so we appreciate you-all and the

       6    thoughtfulness and the real skill and appreciate that

       7    you-all are next to our people, and we absolutely are

       8    interested in, either this procedure or beyond, working

       9    with you on this sale.

      10                     MR. BROWN:       Okay.     I mean, you're real

      11    estate people as well, so there's a certain time value

      12    of money.    And, frankly, we have no idea what we would

      13    do.   I mean, we have general thoughts and ideas, and

      14    implementing those things takes time.             You know, it's a

      15    little bit of an accelerator, if you will, to the

      16    overall business plan that we had originally.                So I

      17    think it's just good for us to know.             I guess that would

      18    be true.

      19                     With that, we will increase our bid to

      20    $660,000 with that.

      21                     MR. STANTON:       Okay.     Mr. Kessler?

      22                     MR. KESSLER:       Yes, sir.

      23                     MR. STANTON:       I promise we're looking at a

      24    two-minute discussion with Mr. Hoppe in the hallway.

      25                     MR. KESSLER:       That's fine.


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       1                     MR. STANTON:      Good.

       2                     MR. KESSLER:      We're off the record.

       3                     (Break taken from 10:50 a.m. to 10:54 a.m.)

       4                     MR. KESSLER:      It is 10:54, and we are back.

       5                     MR. STANTON:      Thank you, Mr. Kessler.          Tom

       6    Stanton for TMF.      We respond with a credit bid of

       7    700,000.

       8                     MR. BROWN:      We need a recess.

       9                     MR. KESSLER:      That's fine.

      10                     (Break taken from 10:55 a.m. to 11:08 a.m.)

      11                     MR. KESSLER:      It is 11:08, and we are back

      12    on the record.

      13                     MR. BROWN:      I have a couple of questions.

      14    You guys finance real estate transactions.              Do you guys

      15    do that to for-profit groups as well, or is it

      16    exclusively for nonprofit in your real estate

      17    transactions?

      18                     MR. STANTON:      I think I can be kind of

      19    direct on that.      For a new lender -- a new borrower

      20    coming to us, it would need to be fit within the

      21    charitable not-for-profit group, but in connection with

      22    the sale of a property that originated properly for a

      23    proper tax-exempt purpose, we have more flexibility.

      24                     MR. BROWN:      Okay.

      25                     MR. STANTON:      And so we could hold a note


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       1    on a property that we acquired through this process.

       2                     MR. BROWN:      Okay.

       3                     MR. STANTON:      And I do the tax work for our

       4    organization, and I look at that, but, certainly, we're

       5    open to that.

       6                     MR. BROWN:      Okay.    And does your tax-exempt

       7    status today provide -- do you believe it'll provide you

       8    tax-exempt status with the property taxes if you

       9    maintain and hold it for a period of time as well on the

      10    property, or is that --

      11                     MR. STANTON:      Good question.       I'm not going

      12    to be able to answer that right now.            I won't -- I'm not

      13    going to venture that far from --

      14                     MR. BROWN:      Okay.

      15                     MR. STANTON:      -- and give you that view of

      16    it.

      17                     MR. BROWN:      Okay.    We will increase our bid

      18    at 710.

      19                     MR. KESSLER:      Chip, did you hear that?

      20                     MR. AZANO:      Was that 710?

      21                     MR. KESSLER:      710.

      22                     MR. AZANO:      Thank you.

      23                     MR. STANTON:      And our response is 725.

      24                     MR. BROWN:      We will have to recess -- I

      25    apologize -- one more time.


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       1                     MR. KESSLER:      That's fine.      11:10, we're

       2    off.

       3                     (Break taken from 11:10 a.m. to 11:18 a.m.)

       4                     MR. KESSLER:      It is 11:18, and we are back

       5    on the record.

       6                     MR. BROWN:      So I think we want to be the

       7    best possible neighbors as possible, and we -- if this

       8    was under any other pretense, we would have been

       9    reaching out to you guys not in these confines, and we

      10    would be having the same conversation we are here today

      11    and be kind of moving in this direction.

      12                     So, I mean, the nature of what's occurred

      13    here has kind of caused us to be in a little bit of a

      14    different setting, but I think, you know -- again,

      15    honesty is always kind of the best approach.                 Even when

      16    you're playing poker, sometimes it's the best way to do

      17    things.

      18                     So making it open here, we're going to just

      19    go to our max, which is 750.          We think that's more than

      20    fair for the upper market value of this property.                 We've

      21    crunched numbers so many different ways now.                 Our hopes

      22    are, you know, even if, you know, we don't take

      23    possession, that we can contact you at some point at a

      24    later date, but just to let you know kind of where we've

      25    reached our max on the limit at, so. . .


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       1                     MR. STANTON:      Okay.     I really appreciate

       2    the candor and appreciate the opportunity for you-all to

       3    meet Robert.     Robert and his colleague, David McCastle,

       4    are the guys that will be lead for the TMF and

       5    discussions forward, if there are any.

       6                     But for today's purposes, then our response

       7    bid is -- your final bid was 750?

       8                     MR. BROWN:      That's our, yeah, final.

       9                     MR. STANTON:      Yeah.     Yeah.     Then our final

      10    bid is 760.

      11                     MR. BROWN:      Okay.     There will be no

      12    subsequent bidding from RSF.

      13                     MR. KESSLER:      All right.        I appreciate

      14    everyone's help and attendance.            I'm going to bring the

      15    auction to a close and thank everybody for their time

      16    but just ask:     Would anyone else like to put anything on

      17    the record at this time.

      18                     MR. PEREZ:      This is Alex Perez on behalf of

      19    TMF.   We don't have anything to add to the record.

      20                     MR. HESSE:      This is Greg Hesse on behalf of

      21    RSF.   There's nothing further to add.

      22                     MR. KESSLER:      Okay.     Officially, we are

      23    adjourning the record at 11:20 and appreciate everybody

      24    being here and appreciate everybody's cooperation today.

      25                     Thank you.      We are done.


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                                 EXHIBIT B
                                      Bid Sheet
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                                                      Abilene Property
                                                        July 31, 2015
Bid Amount   Bidding Party                          Bid Increase Date/Time Comments
$ 500,000    RSF Partners                                            07/15/15   Letter rec. from RSF Partners
  525,000    Texas Methodist Foundation ("TMF")           25,000     07/17/15   Credit Bid Letter rec. from TMF
  600,000    TMF                                          75,000      10:18
  625,000    RSF Partners                                 25,000      10:26
  650,000    TMF                                          25,000      10:28
                                                                                Successive bid increase was reduced to $10,000 from $25,000
   660,000   RSF Partners                                 10,000      10:50     as was approved by both TMF & the Obligated Group Bond
                                                                                Trustee
   700,000   TMF                                          40,000      10:55
   710,000   RSF Partners                                 10,000      11:10
   725,000   TMF                                          15,000      11:10
   750,000   RSF Partners                                 25,000      11:19
   760,000   TMF                                          10,000      11:20     Final bid




$ 260,000    Increase from original bid
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                           PROPOSED ORDER
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

 In re:                                                  §         CASE NO. 14-32821-11
                                                         §
 SEARS METHODIST RETIREMENT                              §         CHAPTER 11
 SYSTEM, INC., et al.1                                   §         
                                                         §         Jointly Administered
                           Debtors.                      §

                    ORDER CONFIRMING SALE OF ABILENE PROPERTY

          Pursuant to that certain Agreed Undeveloped Properties Sale Procedures (the “Sale

 Procedures”)2 between Texas Methodist Foundation (“TMF”) and Wells Fargo Bank, N.A., as

 Trustee (the “Obligated Group Bond Trustee”), TMF and the Obligated Group Bond Trustee

 seek entry of an order authorizing and approving the sale (the “Sale”) of all of Sears Methodist

 Centers, Inc.’s (the “Debtors”) rights and interests in the Abilene Property (the “Property”), in

 accordance with the Sale Procedures as provided for in Findings of Fact, Conclusions of Law,

 and Order Confirming Plan of Reorganization Pursuant to Chapter 11 of the Bankruptcy Code

 (the “Confirmation Order”) [Docket No. 800] entered by the United States Bankruptcy Court for

 the Northern District of Texas, Dallas Division (the “Bankruptcy Court”), and after due

 deliberation of the relief set forth herein; and finding that good and sufficient notice of the relief

 granted by this Order has been given and no further notice is required; and good and sufficient

 cause appearing to approve the relief herein, including for the reasons stated on the record at the
 1
          The debtors in these Chapter 11 Cases, along with the last four (4) digits of their taxpayer identification
          numbers, are: Sears Methodist Retirement System, Inc. (6330), Canyons Senior Living, L.P. (8545),
          Odessa Methodist Housing, Inc. (9569), Sears Brazos Retirement Corporation (8053), Sears Caprock
          Retirement Corporation (9581), Sears Methodist Centers, Inc. (4917), Sears Methodist Foundation (2545),
          Sears Panhandle Retirement Corporation (3233), Sears Permian Retirement Corporation (7608), Sears
          Plains Retirement Corporation (8233), Sears Tyler Methodist Retirement Corporation (0571) and Senior
          Dimensions, Inc. (4016). The mailing address of each of the Debtors, solely for purposes of notices and
          communications, is 2100 Ross Avenue, 21st Floor, c/o Paul Rundell, Dallas, Texas 75201.
 2
          Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
          Sale Procedures.

                                                          2
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 hearing seeking approval of the Sale, the Bankruptcy Court hereby FINDS, DETERMINES,

 CONCLUDES, and ORDERS that:

        1.       The bid submitted by TMF (in the capacity as purchaser, the “Purchaser”)

  constitutes the highest and best offer for the Property. Other parties have had a reasonable

  opportunity to make a higher or otherwise better offer to purchase the Property.

        2.       Pursuant to §§ 105(a) and 363 of the Bankruptcy Code, the Liquidating Trustee

  (the “Authorized Representative”), on behalf of the Debtor, is authorized to transfer the

  Property to the Purchaser pursuant to a deed substantially in the form attached hereto as

  Exhibit 1.   The transfer of the Property to the Purchaser pursuant to the terms hereof shall

  constitute a legal, valid, binding, and effective transfer of the Property.

        3.       Upon the closing of the Sale, pursuant to § 363(f) of the Bankruptcy Code, the

  Purchaser shall take title to and possession of the Property free and clear of any and all liens,

  claims, interests, and encumbrances, except for the outstanding ad valorem property taxes

  associated with the Property is subject to the liens that secure all amounts owed in connection

  with such taxes.

        4.       Upon the closing of the Sale, TMF’s secured claims will be reduced by

  $760,000.00.

        5.       The Purchaser is purchasing the Property in good faith and is a good faith buyer

  within the meaning of Section 363(m) of the Bankruptcy Code. The Purchaser proceeded in

  good faith in connection with all aspects of the Sale. Accordingly, the Purchaser is entitled to

  all of the protections afforded under Section 363(m) of the Bankruptcy Code.

        6.       All persons and entities are enjoined from taking any actions against Purchaser or

  any affiliate of the Purchaser to recover any claim that such person or entity has solely against



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  the Debtor, save and except for taxing authorities holding outstanding ad valorem property taxes

  associated with the Property.

        7.      The Authorized Representative is hereby authorized to take any and all actions

  necessary to consummate the transactions contemplated by this Order.

        8.      Notwithstanding any provision in the Bankruptcy Rules to the contrary, the terms

  of this Order shall be immediately effective and enforceable upon its entry, notwithstanding the

  possible applicability of Bankruptcy Rule 6004(h) or otherwise.

        9.      This Court retains jurisdiction with respect to all matters arising from or related to

  the implementation of this Order.

 SIGNED this ___ day of _________, 2015.


                                                       Stacey G.C. Jernigan,
                                                       U.S. Bankruptcy Judge




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                                  EXHIBIT 1




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 NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON,
 YOU MAY REMOVE OR STRIKE ANY OR ALL OF THE FOLLOWING
 INFORMATION FROM ANY INSTRUMENT THAT TRANSFERS AN INTEREST IN
 REAL PROPERTY BEFORE IT IS FILED FOR RECORD IN THE PUBLIC RECORDS:
 YOUR SOCIAL SECURITY NUMBER OR YOUR DRIVER’S LICENSE NUMBER.

 STATE OF TEXAS                                 §
                                                §       KNOW ALL MEN BY THESE PRESENTS:
 COUNTY OF TAYLOR                               §

                                   SPECIAL WARRANTY DEED

         SEARS METHODIST CENTERS, INC., (“Grantor”), a Plan Debtor in the bankruptcy
 case styled as In re Sears Methodist Retirement System, Inc. et al., in the United States
 Bankruptcy Court for the Northern District of Texas, Case No. 14-32821 (the “Bankruptcy
 Case”), for and in consideration of the sum of $10 and other good and valuable consideration,
 the receipt and sufficiency of which are hereby acknowledged, has GRANTED, BARGAINED,
 SOLD, and CONVEYED and by these presents does GRANT, BARGAIN, SELL, AND
 CONVEY unto Texas Methodist Foundation (“Grantee”), that certain land in Taylor County,
 Texas, fully described in Exhibit A hereto, together with all improvements, if any, thereon and
 all rights appurtenances appertaining thereto (collectively, the “Property”) pursuant to that
 certain Order Confirming Sale of Abilene Property [Docket No. ___] (as attached hereto as
 Exhibit B, the “Bankruptcy Order”).

         This Special Warranty Deed and the conveyance hereinabove set forth is executed by
 Grantor and accepted by Grantee subject to all matters of record to the extent the same are
 validly existing and applicable to the Property and not otherwise extinguished by the Bankruptcy
 Order, all subject and pursuant to the Bankruptcy Order (collectively, the “Permitted
 Exceptions”).

         TO HAVE AND TO HOLD the Property, subject to the Permitted Exceptions as
 aforesaid, unto Grantee, and Grantee’s successors and assigns, forever; and Grantor does hereby
 bind Grantor, and Grantor’s successors and assigns, to WARRANT and FOREVER DEFEND,
 all and singular, the Property, subject to the Permitted Exceptions unto Grantee, and Grantee’s
 successors and assigns, against every person whomsoever lawfully claiming or to claim the same
 or any part thereof by, through or under Grantor, but not otherwise.

         Except as specifically stated herein, Grantor hereby specifically disclaims any warranty,
 guaranty, or representation, oral or written, past, present or future, of, as, to, or concerning (i) the
 nature and condition of the Property, including but not by way of limitation, the water, soil,
 geology and the suitability thereof, and of the Property, for any and all activities and uses which
 Grantee may elect to conduct thereon or any improvements Grantee may elect to construct
 thereon, income to be derived therefrom or expenses to be incurred with respect thereto, or any
 obligations or any other matter or thing relating to or affecting the same; (ii) the manner of
 construction and condition and state of repair or lack of repair of any improvements located
 thereon; (iii) except for any warranties contained herein, the nature and extent of any easement,
 right-of-way, lease, possession, lien, encumbrance, license, reservation, condition or otherwise;

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 and (iv) the compliance of the Property or the operation of the Property with any laws, rules,
 ordinances, or regulations of any government or other body. THE CONVEYANCE OF THE
 PROPERTY AS PROVIDED FOR HEREIN IS MADE ON AN “AS IS” BASIS, AND
 GRANTEE ACKNOWLEDGES THAT, IN CONSIDERATION OF THE AGREEMENTS OF
 GRANTOR HEREIN, EXCEPT AS OTHERWISE SPECIFIED HEREIN, GRANTOR MAKES
 NO WARRANTY OR REPRESENTATION, EXPRESS OR IMPLIED, OR ARISING BY
 OPERATION OF LAW, INCLUDING, BUT IN NO WAY LIMITED TO, ANY WARRANTY
 OF CONDITION, HABITABILITY, MERCHANTABILITY, OR FITNESS FOR A
 PARTICULAR PURPOSE OF THE PROPERTY.

        Grantee, by its acceptance hereof, does hereby assume and agree to pay any and all
 outstanding ad valorem taxes pertaining to the Property.


 EXECUTED effective the          day of              , 2015.

                                            GRANTOR:

                                            SEARS METHODIST CENTERS, INC.,
                                            a Texas non-profit corporation

                                            By:
                                            Name: Harold Kessler
                                            Title: Liquidating Trustee


 STATE OF TEXAS
 COUNTY OF___________________

        This instrument was acknowledged before me on the              day of    _____,
 2015 by                      , the                    of SEARS METHODIST CENTERS, INC.,
 a Texas non-profit corporation, on behalf of said corporation.



                                            Notary Public, State of Texas
                                            Printed Name:
                                            Commission Expires:

 (Seal)


 Grantee’s Address for tax notices:

 Texas Methodist Foundation
 11709 Boulder Lane #100
 Austin, TX 78726-1808

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                                      Exhibit A
                                 Property Description
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                                     Exhibit B
                                  Bankruptcy Order

                                 [TO BE INSERTED]




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